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Attorneys for Defendant Chevron Corporation


                           UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION



 COUNTY OF MULTNOMAH,                              Case No. 3:23-cv-1213

                       Plaintiff,

         v.                                        DECLARATION OF JOSHUA
                                                   D. DICK IN SUPPORT OF
                                                   NOTICE OF REMOVAL BY
 EXXON MOBIL CORP., SHELL PLC F.K.A.               DEFENDANTS CHEVRON
 ROYAL DUTCH SHELL PLC, CHEVRON                    CORPORATION AND
 CORP., BP PLC, CONOCOPHILLIPS,                    CHEVRON U.S.A. INC.
 MOTIVA ENTERPRISES, LLC,

 DECLARATION OF JOSHUA D. DICK IN
 SUPPORT OF NOTICE OF REMOVAL BY
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 AND CHEVRON U.S.A. INC.-1-
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 OCCIDENTAL PETROLEUM F.K.A.
 ANADARKO PETROLEUM CORP., SPACE                      By Defendant Chevron Corporation
 AGE FUEL, INC., VALERO ENERGY
 CORP., TOTAL SPECIALTIES USA, INC.,
 MARATHON PETROLEUM CORP.,
 PEABODY ENERGY CORP., KOCH
 INDUSTRIES, INC., AMERICAN
 PETROLEUM INSTITUTE, WESTERN
 STATES PETROLEUM ASSOCIATION,
 MCKINSEY AND COMPANY, INC., and
 DOES 1-250 INCLUSIVE,

                         Defendants.



       I, Joshua D. Dick, declare as follows:

       1.      I am an attorney admitted to practice in the State of California, and my application

for admission pro hac vice before this Court is forthcoming. I am a partner in the law firm of

Gibson, Dunn & Crutcher, LLP, and I am one of the attorneys responsible for the representation

of Defendants Chevron Corporation and Chevron U.S.A. Inc. (together “the Chevron Parties”) in

this matter. I make this declaration in support of the Chevron Parties’ Notice of Removal, filed

concurrently herewith.

       2.      Unless otherwise stated, the following facts are within my personal knowledge

through personal review of the documents and information described herein or through

information gathered and provided to me by individuals at my firm, at my direction. If called and

sworn as a witness, I could and would testify competently thereto.

       3.      I have consulted with my clients, and I have been informed that Chevron

Corporation was served on July 20, 2023 by Plaintiff the County of Multnomah with a copy of the

Complaint filed in the Circuit Court of the State of Oregon for the County of Multnomah on June


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22, 2023. The Notice of Removal is being filed not more than thirty (30) days after Chevron

Corporation was served with a copy of the initial pleading setting forth the claims for relief upon

which this action is based. 28 U.S.C § 1446(b).

       4.      The consent of the other Defendants is not required because removal does not

proceed “solely under 28 U.S.C § 1441.” 28 U.S.C § 1446(b)(2)(A). The Chevron Parties have

removed this action to federal court on several bases including, for example, 28 U.S.C §

1442(a)(1). Further, consent is not required from any Defendant that has not been served. See 28

U.S.C § 1446(b)(2)(A). Nevertheless, “all defendants who have been properly joined and served”

consent to the removal of this action. 28 U.S.C. § 1446(b)(2)(A). Such consents were provided

to counsel for the Chevron Parties in correspondence with the other served Defendants and/or their

counsel.

       5.      Pursuant to 28 U.S.C § 1446(a), attached hereto as Exhibit 1 are copies of all

process, pleadings, and orders from the state-court action being removed to this Court that the

Chevron Parties have been able to obtain from the Circuit Court which are in the possession of the

Chevron Parties. Pursuant to 28 U.S.C § 1446(a), this constitutes “a copy of all process, pleadings,

and orders” received by the Chevron Parties in the action.

       6.      Attached hereto as Exhibit 2 is a true and correct copy of the Affidavit of Dr. Mark

R. Wilson, filed in Anne Arundel County v. BP p.l.c., et al., No. 21-cv-01323 (D. Md.), filed May

27, 2021.

       7.      Attached hereto as Exhibit 3 is a true and correct copy of the Comprehensive

Energy Plan, House of Representatives Document Number 93-406, dated December 10, 1974.




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        8.      Attached hereto as Exhibit 4 is a true and correct copy of the Navy Supply Corps

Newsletter,     A    Word     about    Fuels,    dated     May    29,     2020,   available    at

https://scnewsltr.dodlive.mil/2020/05/29/a-word-about-fuels/.

        9.      Attached hereto as Exhibit 5 is a true and correct copy of the Navy Supply Corps

Newsletter, NAVSUP Fuels: What the Fleet Runs On, dated Spring 2020, available at

https://scnewsltr.dodlive.mil/files/2020/04/2020-SCNews-Spring_web.pdf.

        10.     Attached hereto as Exhibit 6 is a true and correct excerpted copy of Gregory

Pedlow and Donald Welzenbach’s 1992 report, The Central Intelligence Agency and Overhead

Reconnaissance: The U-2 and OXCART Programs, 1954-1974.

        11.     Attached hereto as Exhibit 7 is a true and correct copy of CIA Doc. No. CIA-

RDP90B00170R000100080001-5, Clarence L. Johnson, Development of the Lockheed SR-71

Blackbird, dated August 3, 1981.

        12.     Attached hereto as Exhibit 8 is a true and correct excerpted copy of Ben Rich and

Leo Janos’s Skunk Works, published in 1994.

        13.     Attached hereto as Exhibit 9 is a true and correct copy of CIA Doc No. CIA-

RDP67B00074R000500400016-2, Contract No. AF33(657)-8577 (SH-511), dated August 14,

1962.

        14.     Attached hereto as Exhibit 10 is a true and correct copy of CIA Doc. No. CIA-

RDP67B00074R000500400012-6, Amendment No. 2 to Contract No. AF33(657)-5577 (SH-511),

dated August 26, 1963.




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        15.    Attached hereto as Exhibit 11 is a true and correct copy of CIA Doc. No. CIA-

RDP67B00074R000500440005-0, Concurrence in Contract No. SH-515 with Shell Oil Company,

Project OXCART, dated September 20, 1963.

        16.    Attached hereto as Exhibit 12 is a true and correct copy of CIA Doc. No. CIA-

RDP67B00074R000500450004-0, Contract No. AF33(657)-13272 (SH-516), dated June 30,

1964.

        17.    Attached hereto as Exhibit 13 is a true and correct copy of CIA Doc. No. CIA-

RDP67B00074R000500440006-9, Contract No. AF33(657)-12525 (SH-515), dated September

20, 1963.

        18.    Attached hereto as Exhibit 14 is a true and correct copy of CIA Doc. No. CIA-

RDP67B00074R000500430003-3, Concurrence in Contract No. SH-514 with Shell Oil Company,

New York, N.Y., dated June 28, 1963.

        19.    Attached hereto as Exhibit 15 is a true and correct copy of CIA Doc. No. CIA-

RDP67B00074R000500420006-1, Contract No. AF33(657)10449 (SH-513), dated February 25,

1963.

        20.    Attached hereto as Exhibit 16 is a true and correct copy of CIA Doc. No. CIA-

RDP67B00074R000500410006-2, Contract No. AF33(657)-8582 (SH-512), dated September 13,

1962.

        21.    Attached hereto as Exhibit 17 is a true and correct copy of CIA Doc. No. CIA-

RDP63-00313A000500130031-9, Summary of OSA Activities for Week Ending 21 August 1963,

dated August 23, 1963.




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        22.   Attached hereto as Exhibit 18 is a true and correct excerpted copy of Solicitation

SP0600-10-R-0061 and Addendum, dated July 27, 2009.

        23.   Attached hereto as Exhibit 19 is a true and correct excerpted copy of Solicitation

SP0600-12-R-0061 and Addendum, dated December 12, 2011.

        24.   Attached hereto as Exhibit 20 is a true and correct copy of the Report reflecting

procurement contract SP060012D0510, dated September 20, 2012, last modified May 15, 2013,

available at https://www.fpds.gov/fpdsng_cms/indphp/en/.

        25.   Attached hereto as Exhibit 21 is a true and correct copy of the Report reflecting

procurement contract SP060012D0498, dated September 20, 2012, last modified February 19,

2013, available at https://www.fpds.gov/fpdsng_cms/indphp/en/.

        26.   Attached hereto as Exhibit 22 is a true and correct copy of the Report reflecting

procurement contract SP060010D0470, dated April 26, 2010, last modified June 2, 2011, available

at https://www.fpds.gov/fpdsng_cms/indphp/en/.

        27.   Attached hereto as Exhibit 23 is a true and correct copy of the Report reflecting

procurement contract SP060011D0482, dated May 13, 2011, last modified June 15, 2011,

available at https://www.fpds.gov/fpdsng_cms/indphp/en/.

        28.   Attached hereto as Exhibit 24 is a true and correct copy of the Report reflecting

the Bid Summary of Award Information for products F76, JAA, JP5, and JP8, dated October 11,

2012.

        29.   Attached hereto as Exhibit 25 is a true and correct copy of the Minimum Cost

Solution Bid Award Sheet detailing the shipping terminals to receive products F76, JAA, JP5, and

JP8, dated October 11, 2012.


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       30.     Attached hereto as Exhibit 26 is a true and correct copy of the Solicitation SP0600-

10-R-0061 Award Report, dated July 22, 2010.

       31.     Attached hereto as Exhibit 27 is a true and correct copy of the DLA Detail

Specifications for Turbine Fuels, Aviation Kerosene Types, NATO F-34(JP-8), NATO F-35, and

JP-8+100, MIL-DTL-83133E, dated April 1, 1999.

       32.     Attached hereto as Exhibit 28 is a true and correct copy of the DLA Detail

Specification for Turbine Fuels, Grades JP-4 and JP-5, MIL-DTL-5624U, dated January 5, 2004.

       33.     Attached hereto as Exhibit 29 is a true and correct copy of Tables summarizing the

contracts between BP entities and Defense Logistics Agency (“DLA”) Energy Bulk Petroleum

Products, which coordinates the acquisition of fuels and fuel-related services for the U.S.

Department of Defense, for the period 2016-2020, along with excerpts of the contracts described

therein.

       34.     Attached hereto as Exhibit 30 is a true and correct excerpted copy of the

Department of Defense’s Defense Handbook on Aerospace Fuels Certification, MIL-HDBK-

510A, published in August 2014.

       35.     Attached hereto as Exhibit 31 is a true and correct excerpted copy of Air Force

Wright Aeronautical Laboratory’s Military Jet Fuels, 1944-1987, AFWAL-TR-87-2062, dated

November 1987, available at https://apps.dtic.mil/dtic/tr/fulltext/u2/a186752.pdf.

       36.     Attached hereto as Exhibit 32 is a true and correct copy of a Statement of Ralph K.

Davies, Deputy Petroleum Administrator for War, made to the Special Committee Investigating

Petroleum Resources, S. Res. 36, on November 28, 1945.




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         37.      Attached hereto as Exhibit 33 is a true and correct excerpted copy of the National

Petroleum Council’s A National Oil Policy for the United States, published in 1949.

         38.      Attached hereto as Exhibit 34 is a true and correct excerpted copy of a Statement

of Senator Joseph C. O’Mahoney, Chairman of the United States Senate Special Committee

Investigating Petroleum Resources, made on November 28, 1945.

         39.      Attached hereto as Exhibit 35 is a true and correct excerpted copy of a Statement

of George A. Wilson, Director of Supply and Transportation Division, Wartime Petroleum Supply

and Transportation, PAW, made to the Special Committee Investigating Petroleum Resources, S.

Res. 36, on November 28, 1945.

         40.      Attached hereto as Exhibit 36 is a true and correct excerpted copy of John W. Frey

and H. Chandler Ide’s A History of the Petroleum Administration for War, published in 1946.

         41.      Attached hereto as Exhibit 37 is a true and correct excerpted copy of the Remarks

of Secretary Harold Ickes to the Conference of Petroleum Industry Chairmen on August 11, 1941.

         42.      Attached hereto as Exhibit 38 is a true and correct copy of a Telegram from P.M.

Robinson, PAW Assistant Director of Refining, to Ralph K. Davies, PAW Deputy Administrator,

dated August 12, 1942.

         43.      Attached hereto as Exhibit 39 is a true and correct excerpted copy of the Defense

Logistics Agency Energy Fiscal Year 2019 Fact Book, as prepared and published by the United

States         Department     of     Defense,     Defense      Logistics     Agency        (“DLA”),

https://www.dla.mil/Portals/104/Documents/Energy/Publications/FactBookFiscalYear2019_high

res.pdf?ver=2020-01-21-103755-473.




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         44.    Attached hereto as Exhibit 40 is a true and correct copy of the Amici Curiae Brief

of General (Retired) Richard B. Myers and Admiral (Retired) Michael G. Mullen in Support of

Petitioners, filed in BP p.l.c. v. Mayor & City Council of Baltimore, No. 19-1189 (U.S. Nov. 23,

2020).

         I declare under penalty of perjury under the laws of the State of Oregon and the United

States of America that the foregoing is true and correct and that I executed this Declaration on

August 18 2023, at San Francisco, California.

                                                            /s/ Joshua D. Dick
                                                            Joshua D. Dick




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